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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

RAMONA THURMAN BIVINS,                         )
                                               )
          Plaintiff,                           )
                                               )
v.                                             )
                                               )
FELICIA FRANKLIN, in her individual            )      CIVIL ACTION FILE NO.:
and official capacities;                       )      1:22-cv-04149-WMR
ALIEKA ANDERSON, in her individual             )
and official capacities;                       )
GAIL HAMBRICK, in her individual               )
and official capacities; and                   )
CLAYTON COUNTY, GEORGIA,                       )
                                               )
          Defendants.                          )

 DEFENDANT ALIEKA ANDERSON’S REPLY BRIEF IN SUPPORT OF
      HER MOTION FOR JUDGMENT ON THE PLEADINGS

          COMES NOW, Defendant ALEIKA ANDERSON (hereinafter “Anderson”),

by and through her undersigned counsel, and hereby files this Reply Brief in Support

of the Motion for Judgment on the Pleadings, pursuant to Fed. R. Civ. P. 12(c),

moving the Court to dismiss all claims as follows:

     I.      FACTUAL BACKGROUND

          Plaintiff’s response brief includes no “Factual Background” section. For the

purposes of judicial efficiency, Defendant reincorporates its factual background

from its motion as if fully set forth herein. (Doc. 27, p. 2).
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   II.      ARGUMENT AND CITATION OF AUTHORITIES

         The Parties do not disagree on the standard of review that the Court uses to

review a motion for judgment on the pleadings.

            A. Official Capacity Claim Against Anderson Must Be Dismissed

         Plaintiff does not respond to Anderson’s argument on any official capacity

claim. As a result, the Plaintiff abandoned any official capacity claim against

Anderson. See Coal. for the Abolition of Marijuana Prohibition v. City of Atlanta,

219 F.3d 1301, 1326 (11th Cir. 2000) (finding that a party's failure to brief and argue

an issue before the district court is grounds for declaring it abandoned); Hooper v.

City of Montgomery, 482 F. Supp. 2d 1330, 1334 (M.D. Ala. 2007) (concluding that

a plaintiff's failure to respond to defendant's motion to dismiss resulted in dismissal

of those claims as abandoned); Anderson v. Greene, 2005 WL 1971116, *3 (S.D.

Ala. Aug. 16, 2005) ( “[A party's] decision not to proffer argument or authority in

response to the Motion [to Dismiss] is at his peril”). While the District Court can

consider the failure to respond as a sufficient basis to dismiss the official capacity

claim, Anderson, in the alternative, refers the District Court to its argument and

citation to authority that any official capacity claim fails as a matter of law. (Doc.

29, p. 7).     Accordingly, Plaintiff’s First Amendment retaliation claim against

Anderson in her official capacity is duplicative of any such claim against the

Defendant School District and should be dismissed.
                                           2
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          B. No Plausible First Amendment Claim Against Defendant Anderson

    Plaintiff has failed to allege that Anderson possessed the requisite degree

of retaliatory animus for any protected speech claim under the First Amendment.

Here, Anderson’s non-retaliatory reason for non-renewal was that the contract was

an ultra vires contract. To be clear, Plaintiff alleged, and Anderson agreed, that

Anderson voted not to renew Plaintiff’s contract because it was ultra vires. (Doc. 1,

¶ 41; Doc 19, ¶ 41 – Anderson agreed).

    Next, Anderson voted to non-renew Plaintiff’s contract because it was ultra vires,

which is not a First Amendment retaliatory action. That is clearly a contract-based

action. Plaintiff argued in her response brief (See, Doc. 34, p. 13) that Plaintiff

sufficiently pled that Anderson violated the First Amendment when she voted to

terminate Plaintiff and otherwise retaliate against her because Plaintiff was married

to Charlton Bivins. (Doc 1 at ¶¶ 21-34, 37-52, 59, 74, 76, inter alia.). However,

Plaintiff omitted any allegation that Anderson was upset or mad that Mr. Bivens

campaigned for Davis or that Anderson had anything to do with the police being

contacted for Mr. Bivens placing Davis campaign signs. (See generally Complaint

(Doc. 1). In fact, Plaintiff’s complaint alleged that it was the campaign workers for

Janice Scott, not Anderson, who allegedly removed the Davis campaign signs1.


1
 In Randall v. Scott, the 11th Circuit affirmed the District Court’s motion to dismiss
based on qualified immunity. The 11th Circuit affirmed the grant of qualified
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   Finally, perhaps to create some kind of knowledge of this incident in Anderson,

Plaintiff alleged that a local newspaper reported a story of the incident and there was

a tweet by Victor Hill, Clayton County Sheriff, regarding the same. (Doc 1 at ¶¶ 28-

34). However, there is no plausible allegation that Anderson was involved with the

removal of the campaign signs or read about the incident on any forum. Again, there

is no plausible allegation that Anderson cared one way or another about any of this.

In sum, Plaintiff’s allegations of First Amendment retaliation are merely conclusory

and should be disregarded by the Court.

   Further, Anderson, by herself as one Board member, does not possess final policy

making authority for the non-renewal of Plaintiff’s contract. Plaintiff never fully

addressed the final policy making authority issue in her response brief. (See Doc.

34 generally).



immunity on the basis that Scott’s husband was allegedly angry at the candidacy of
Randall for the Clayton County Election Office. Scott even informed Randall of her
husband’s displeasure with his candidacy. Under these “peculiar facts”, the 11th
Circuit affirmed the grant of qualified immunity because the alleged right was not
clearly established. Randall v. Scott, 610 F.3d 701, 716 (11th Circuit 2010)(“The
peculiar facts of Randall's case must be ‘so far beyond the hazy border between
excessive and acceptable that [every objectively reasonable district attorney] had to
know that [she] was violating the Constitution even without caselaw on
point.’” Priester v. City of Riviera Beach, 208 F.3d 919, 926 (11th Cir. 2000)).
Again, Plaintiff’s complaint has no allegation that Anderson was ever upset or angry
over Mr. Bivens’ campaign activity or participated in any police report relating to
any campaign signs.         As such she is entitled to qualified immunity.

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      Next, Plaintiff must assert at least one plausible allegation that a majority of

the Board members with final policy making authority who voted to non-renew the

Plaintiff’s contract possessed retaliatory animus. Mason v. Village of El Portal, 240

F.3d 1337, 1340 (11th Cir. 2001) (“[T]here can be no municipal liability unless all

three members of the council who voted against reappointing [p]laintiff shared the

illegal motive.”). In sum, if the District Court grants one of the Defendants’ motions,

then the District Court must grant all of the Defendants’ motions. Plaintiff’s

conclusory allegations regarding retaliation cannot survive the instant motion.

          C. Qualified Immunity Bars Plaintiff’s First Amendment Claim Because
          It Is Not “Clearly Established”2

      Plaintiff’s response to Anderson’s argument regarding the “clearly

established” argument supports Anderson’s position on the issue. It is clear that, to

overcome the qualified immunity defense, a plaintiff must demonstrate that the

official deprived him of a constitutional right that was "clearly established" when

the alleged offense occurred. See Saucier v. Katz, 533 U.S. 194, 201 (2001)3. To be


2
  In the Eleventh Circuit, the Defendant has the burden of showing he or she was
performing a discretionary duty. Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1199
(11th Cir. 2007). Plaintiff’s response brief (Doc. 34) provided no response or
objection to this issue that Anderson was acting in a discretionary manner.
3
  “Qualified immunity offers complete protection for government officials sued in
their individual capacities if their conduct 'does not violate clearly established
statutory or constitutional rights of which a reasonable person would have
known.'" Vinyard v. Wilson, 311 F.3d 1340, 1346 (11th Cir 2002) (quoting Harlow
v. Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982)). By
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sure, the “clearly established” standard “requires a high degree of specificity.”

District of Columbia v. Wesby, 138 S. Ct. 577, 590 (2018) (quotation omitted).

   Here, Plaintiff cited to no legal authority in her response brief that there is any

case from the U.S. Supreme Court or the 11th Circuit Court of Appeals that would

inform Anderson that voting to non-renew Plaintiff’s contract because it was ultra

vires would somehow violate Plaintiff’s associational First Amendment

rights4. Plaintiff’s failure to identify any such case law is fatal to her First

Amendment claim5. See, e.g., Ensley v. Soper, 142 F.3d 1402, 1406 (11th Cir. 1998)



imposing liability only for violations of clearly established law, the defense
of qualified immunity "balances two important interests—the need to hold public
officials accountable when they exercise power irresponsibly and the need to shield
officials from harassment, distraction, and liability when they perform their duties
reasonably." Pearson v. Callahan, 555 U.S. 223, 231, 129 S. Ct. 808, 172 L. Ed. 2d
565 (2009).
4
  Plaintiff cited to the following inapposite cases: Saucier v. Katz, 533 U.S. 194
(2001)(police conduct case, not a termination for an ultra vires contract case); GJR
Investments, Inc. v. County of Escambia, Fla., 132 F.3d 1359 (11th Cir. 1998)
(involved a business development permit, not a termination for an ultra vires
contract case). None of these cases establish that terminating an employee for an
ultra vires contract violates the employee’s First Amendment rights.
5
  Plaintiff argued in her response (Doc. 34, p. 13): “In her Complaint, Plaintiff also
cited binding U.S. Supreme Court and Eleventh Circuit caselaw to demonstrate that
Defendants’ First Amendment violations were clearly established. (Doc. 1 at n. 1-2
(citing Roberts, 468 U.S. 609; Rotary Club of Duarte, 481 U.S. 537; McCabe, 12
F.3d at 1562-63)). Anderson completely ignores this caselaw in her brief.” Plaintiff
misapprehends (or perhaps tries to contort) Anderson’s argument. Anderson moved
to dismiss Plaintiff’s complaint based on the sufficiency of Plaintiff’s claim under
Twombly for the lack of any plausible First Amendment retaliation claim. None of
the cases cited by the Plaintiff address a Twombly analysis of a First Amendment
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("Any case law that a plaintiff relies upon to show that a government official has

violated a clearly established right must pre-date the officer's alleged improper

conduct, involve materially similar facts, and 'truly compel' the conclusion that the

plaintiff had a right under federal law."); Lassiter v. Alabama A & M Univ., 28 F.3d

1146, 1150 (11th Cir. 1994) ("For qualified immunity to be surrendered, pre-existing

law must dictate, that is, truly compel (not just suggest or allow or raise a question

about), the conclusion for every like-situated, reasonable government agent that

what defendant is doing violates federal law in the circumstances").

   To overcome a qualified immunity defense, the plaintiff must make two

showings. See Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1199-1200 (11th Cir.

2007). First, she "must establish that the defendant violated a constitutional

right."     Id.   Second,   she   must   show   the   violated right   was   "clearly

established." Id. Although the lower federal courts were once required to consider

the first prong before the second, they are now "permitted to exercise their sound

discretion in deciding which of the two prongs of the qualified immunity analysis

should be addressed first in light of the circumstances in the particular case at

hand." Pearson, 555 U.S. at 236.




retaliation claim where the Plaintiff’s termination was based on an ultra vires
contract.
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   Hence, the alleged violation of Plaintiff’s First Amendment rights in the context

alleged by Plaintiff (terminated for an ultra vires contract) was not clearly

established and qualified immunity shields Anderson for any liability in this case.


                                 CONCLUSION

       For the reasons stated herein, Defendant Alieka Anderson respectfully

requests that Plaintiff’s Complaint be dismissed.


      Respectfully submitted this 3rd day of February, 2023.


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                      CERTIFICATION OF COUNSEL

     The undersigned pursuant to this Court’s Local Rules hereby certifies that this

document has been prepared with Times New Roman 14 point.

     This 3rd day of February, 2023.


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CLAYTON COUNTY, GEORGIA,                    )
                                            )
      Defendants.                           )
                          CERTIFICATE OF SERVICE
I hereby certify that on February 3, 2023, I electronically filed DEFENDANT

ALIEKA ANDERSON’S REPLY BRIEF IN SUPPORT OF THE MOTION

FOR JUDGMENT ON THE PLEADINGS with the Clerk of Court using the

CM/ECF system which will automatically send email notification of such filing to

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